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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
HARRISON DIVISION

GENA LEANNE WHILLOCK PLAINTIFF

V. CASE NO. 3:18-CV-3089

UNITED OF OMAHA LIFE INSURANCE COMPANY

and JOHN AND JANE DOE 1-100 DEFENDANTS
JUDGMENT

In accordance with the Opinion and Order filed this day, IT IS HEREBY ORDERED
AND ADJUDGED that the final decision to terminate Plaintiffs disability benefits is
AFFIRMED and this case is DISMISSED WITH PREJUDICE.

IT IS SO ORDERED AND ADJUDGED on this day of September, 2020.

YMIOFHY |4 BROOKS
UNITEDSTATES DISTRICT JUDGE

 
